Case 8:21-mj-00706-DUTY Document 5

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

 

UNITED STATES OF AMERICA, CASE NUMBER
PLAINTIFF
Vv. 8:2 1-mj-706
Heriberto Tavares,
ORDER OF TEMPORARY DETENTION
PENDING HEARING PURSUANT
DEFENDANT(S). TO BAIL REFORM ACT
Upon motion of Defendant , IT IS ORDERED that a detention hearing
is set for October 21 , 2021 , at 2:00 Cla.m. / Klp.m. before the

Honorable Karen E. Scott

, in Courtroom 6%

Pending this hearing, the defendant shall be held in custody by the United States Marshal or

and produced for the hearing.

 

 

 

 

(Other custodial officer)
Dated: 10 /20/2\ A Finn a Sot
U.S. District Judge/Magistrate Judge
ORDER OF TEMPORARY DETENTION PENDING HEARING PURSUANT TO BAIL REFORM ACT
CR-66 (10/97)

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